Case MDL No. 2864 Document 41 Filed 08/22/18 Page 1 of 2

BEFORE THE UNITED STATES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

)
IN RE: ROUTE 91 HARVEST FESTIVAL ) MDLNO. 2864
SHOOTINGS )

 

OPPOSITION TO MGM’S MOTION TO TRANSFER AND CENTRALIZE PURSUANT

 

TO 28 U.S.C § 1407
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jor Aubree Fraser and Brayden Fraser,
Nicholas Robone, Anthony Robone, Jovanna
Calzadillas and Francisco Calzadillas
Case MDL No. 2864 Document 41 Filed 08/22/18 Page 2 of 2

This Opposition to MGM’s Motion to Transfer and Centralize Pursuant to 28 U.S.C. §

1407 is filed on behalf the following victims of the Mandalay Bay 1 October Shooting and named

Plaintiffs in Sheppard, et al. v. Mandalay Bay, LLC f/k/a Mandalay Corp. (“Sheppard”), currently

pending in the United States District Court for the District of Nevada: Rachel Sheppard; Lotus

Herrera, Special Administrator of the Estate of Brian Fraser; Stephanie Fraser as the Guardian Ad

Litem for Aubree Fraser and Brayden Fraser; Nicholas Robone; Anthony Robone; Jovanna

Calzadillas; and Francisco Calzadillas (collectively, “Sheppard Plaintiffs’’).

The Panel should deny MGM’s Motion to Transfer and Centralize because MGM failed to

meet its burden to demonstrate that centralization is appropriate under 28 U.S.C. §1407 for the

following reasons:

1.

A vast majority of the victims named either as plaintiffs or defendants in the lawsuits MGM
seeks to centralize are represented by a coordinated group of common counsel;

The number of actions involved is far too minimal to support centralization;

Transfer and centralization are generally not necessary where there are common issues of
law, particularly where, as here, that issue of law was manufactured by the movant;

MGM is acting with improper motives in seeking centralization; and

The victims are uniformly opposed to centralization.

Accordingly, the Sheppard Plaintiffs respectfully request this Panel deny MGM’s Motion

to Transfer and Centralize all actions arising out of the Mandalay Bay 1 October Shooting.

Dated August 14, 2018.

 

/s/Robert T. Eglet, Esq. /s/Mark P. Robinson, Esq.

Robert T. Eglet, Esq. Mark P. Robinson, Esq.

Robert M. Adams, Esq. Daniel S. Robinson, Esq.

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